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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

                            Complainant,
            v.                                                Criminal Case No.

ZACHARY REHL                                                  1:21-cr
                                                              1:21- cr--00175
                                                                        00175-TJK
                                                                        00175-TJK
                                                                               TJK--33

                            Accused


(Styled as USA v. NORDEAN incorporating cases                 Assigned to the Honorable
against four Defendants collectively)                         Timothy J. Kelly



                        CONDITIONAL MOTION TO WITHDRAW

       Comes now Jonathon Moseley as counsel for ZACHARY REHL, and – conditional upon

confirmation by the federal defender’s office of alternative counsel being available and that

Zachary Rehl has not been manipulated and has a full understanding of the circumstances of a

change – moves to withdraw as counsel for Zachary Rehl, effective upon the availability of

alternative counsel, moves to withdraw, as explained in his companion Memorandum of Law.

                          REQUEST FOR ORAL ARGUMENT

       Counsel for Zachary Rehl requests oral argument here on.




                  REQUEST FOR DELEGATION TO MAGISTRATE

       In order to minimize collateral matters affecting the trial, counsel suggests that these

matters be heard by a Magistrate Judge and not the trial judge.
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Dated: December 9, 2021                RESPECTFULLY SUBMITTED
                                                    SUBMITTED,
                                       ZACHARY REHL, by counsel




                                       Jonathon Alden Moseley, Esq.
                                       DC
                                       DCDC
                                          DC Bar No. VA005
                                       Virginia State Bar No. 41058
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                                       Contact@JonMoseley.com
                                       Moseley391@gmail.com

                          CERTIFICATE OF CONSULTATION

       Counsel for Zachary Rehl previously inquired of the prosecution’s position on the prior

motion and the topic on December 3, 2021, and the prosecution takes no opinion or position on

this motion. Counsel believes that aass an extension of that motion, the prosecution also takes no

position on this motion as well as an extension thereof.




                                                              .

                                 CERTIFICATE OF SERVICE

         I hereby certify that on December 9, 2021
                                                2021,, I electronically filed the foregoing document
with the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic
filing to the following CM/ECF participant(s). From my review of the PACER / ECF docket
records for this case that the following at
                                         attorneys
                                            torneys will receive notice through the ECF system of


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the U.S. District Court for the District of Columbia.

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